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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 EBURY STREET CAPITAL, LLC, EB 1EMIALA,
 LLC, EB 2EMIALA, LLC, EBURY FUND 1 NJ LLC,
 and EBURY FUND 2 NJ, LLC,
             Plaintiffs/Counterclaim Defendants,

 v.

 THOMAS R. MCOSKER, ANDREW KERNAN,
 BADEL HERNANDEZ, LIENCLEAR – 0001, LLC,
 LIENCLEAR – 0002, LLC, LIENCLEAR, LLC,
 BLOXTRADE, LLC, BCMG SERVICES, LLC,
 BCMG INTERNATIONAL, LLC, and SITONA
 VENTURES LLC,
           Defendants/Counterclaimants/
                                                          Civil Action No. 1:21-cv-00203-JLH
           Third-Party Plaintiffs.

 v.

 JOHN HANRATTY, PING XIE, SARAH WELLS,
 DENNISSE MENDEZ, SHIRLEY VEGA, JOHN
 BRONZO, PATRICK SEYMOUR, EB LEVRE I,
 LLC, EBURY FUND 1, LP, EBURY FUND 2, LP,
 EB 1EMIDC, LLC, RED CLOVER 1, LLC, WHITE
 CLOVER 1, LLC, BLACK CLOVER I, LLC,
 EBURY FUND IC1, LLC, EBURY FUND 2CI, LLC,
 EBURY RE, LLC, AMAURY SANTIAGO and
 LESSER FLAMINGO LLC.
             Third-Party Defendants.


              DEFENDANTS/COUNTERCLAIMANTS/THIRD-PARTY
               PLAINTIFFS’ REQUEST FOR ENTRY OF DEFAULT
            AGAINST THIRD-PARTY DEFENDANT AMAURY SANTIAGO

       Defendants/Counter-Claimants/Third-Party      Plaintiffs   THOMAS       R.   MCOSKER,

ANDREW KERNAN, BADEL HERNANDEZ, LIENCLEAR – 0001, LLC, LIENCLEAR –

0002, LLC, LIENCLEAR, LLC, BLOXTRADE, LLC, BCMG SERVICES, LLC, BCMG

INTERNATIONAL, LLC, and SITONA VENTURES LLC (“Defendants”), by and through their

undersigned attorneys and pursuant to Federal Rule of Civil Procedure 55(a), respectfully request

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that the Clerk enter Default against Third-Party Defendant Amaury Santiago. In support of this

Request, Defendants state as follows:

       1.      This case concerns competing claims for violations of the Racketeer Influenced and

Corrupt Organizations Act, 18 U.S.C. § 1961 et. seq. and common law tort and contract claims.

       2.      On February 12, 2021, Plaintiffs filed their Complaint. (DI 1).

       3.      On June 25, 2021, Plaintiffs filed their First Amended Complaint (DI 16).

       4.      On December 9, 2022, Defendants filed their Answer to the Amended Complaint,

Amended Counterclaims, and Third-Party Complaint. (DI 55).

       5.      On January 17, 2023, service of the Amended Counterclaims and Third-Party

Complaint was completed on Third-Party Defendant Amaury Santiago. See Affidavit of Service

Exhibit B (DI 59).

       6.      To date, more than 20 days have elapsed since service of the Amended

Counterclaims and Third-Party Complaint on Third-Party Defendant Amaury Santiago and he has

failed to plead, appear, or otherwise defend.

       Wherefore, Defendants respectfully request that the Clerk enter default against Third-Party

Defendant Amaury Santiago.

                                                            Respectfully submitted,

Dated: August 23, 2023                                      COOCH AND TAYLOR, P.A.

                                                            /s/ Dean R. Roland                .
                                                            Blake A. Bennett (#5133)
                                                            Dean R. Roland (#6459)
                                                            Cooch and Taylor P.A.
                                                            The Brandywine Building
                                                            1000 N. West St, Suite 1500
                                                            Wilmington, DE 19899-1680

                                                            Attorneys for Defendants


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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 23, 2023, I served the enclosed Request for Entry of

Default via hand delivery on the following:

                                     Amaury Santiago
                          6 Mariano Ramirez Bages Laguana Terrace
                                       Apartment 2F
                                    San Juan, PR 00907




                                                            /s/ Dean R. Roland   .
                                                            Dean R. Roland (#6459)
